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11
     Attorneys for Plaintiffs DONEYDA PEREZ, DANNY NISSEN, MARLYS
12   NISSEN, JOSEPH ANGELO, GREGOGRY LAPLANTE and PAUL HOLT,
13   individually and on behalf of their respective businesses, and on behalf of all
     others similarly situated.
14

15                 UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
16
     DONEYDA PEREZ as an individual and on
17
     behalf of all others similarly situated,     Case No.: 8:16-CV-01440-JLS-DFM
18
                         Plaintiff,
19                                                DECLARATION OF LISA L. CLAY
           v.                                     IN SUPPORT OF PLAINTIFFS'
20                                                MOTION FOR PRELIMINARY
     DIRECTV GROUP HOLDINGS, LLC, a               APPROVAL OF CLASS ACTION
21
     Delaware Corporation, LONSTEIN LAW           SETTLEMENT
22   OFFICES, P.C., a New York Professional
     Corporation; SIGNAL AUDITING, INC., a
23   New York Corporation, JULIE COHEN            Date: August 19, 2022
     LONSTEIN and WAYNE M. LONSTEIN,              Time: 10:30 a.m.
24                                                Dept.: 8A
25                       Defendants.

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                                DECLARATION OF LISA L. CLAY
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 1                          DECLARATION OF LISA L. CLAY
 2   I, Lisa L, Clay, declare:
 3         1.     I am an attorney duly authorized to practice law in the State of Illinois
 4   (active) Washington (inactive) and Washington, D.C. (inactive). I am admitted pro
 5   hac vice in the above matter.
 6         2.     I provide this declaration based on my personal knowledge unless
 7   otherwise stated on the basis of information and belief and would testify competently
 8   thereto if called as a witness.
 9         3.     I am one of the attorneys for Plaintiffs and provide this declaration in
10   support of Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement,
11   which seeks in part to appoint me and my co-counsel Kevin Mahoney and Katherine
12   J. Odenbreit as class counsel.
13         4.     I have been practicing law since 2002. I began my career as an associate
14   with the law firm of McGuireWoods LLP where my practice focused on commercial
15   and employment litigation. I was exposed to class cases early in my career and was
16   fortunate to be mentored by a number of skilled and experienced class action
17   attorneys during the five years I practice with McGuireWoods LLP.
18         5.     I obtained additional and significant class experience during my tenure
19   with the law firm of Shefsky & Froelich, now Taft, Stettinius & Hollister, most
20   notably assisting in settlement before Magistrate Judge Nan R. Nolan (Ret.) in a
21   large unclaimed property case, Kennedy, et al v. City of Chicago, 06 cv 4914.
22         6.     I have been a solo practitioner since 2012. My primary area of focus is
23   employment law, but I also do significant work defending victims of various
24   “trolling” practices (piracy trolling under the Communications Act and copyright
25   trolling under the Copyright Act), work I define as consumer protection law.
26         7.     I represent plaintiffs in all manner of employment claims, including
27   Title VII, FMLA, ADA, ADEA and wage claims. I am skilled in all aspects of
28   federal litigation, both individual and class claims. Specifically, I have litigated a
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 1   number of class claims in the Northern District of Illinois in addition to the above-
 2   referenced actions. See, e.g., et al v. Celtic Environmental Inc., et al, No. 16 cv 9753;
 3   Wood v. Long, 16 cv 7419; Hancox v. Ulta Salon, Cosmetics & Fragrance, Inc., No.
 4   17 cv 1821; Romo v. Durham School Services, L.P., et al., No. 17 cv 1929, Salinas,
 5   et al v. Best Maids, 19 cv 8390. Most recently, Judge Lefkow granted preliminary
 6   approval of a seven-figure class action settlement in Mair v. Earthmed, Case No. 19
 7   cv 8107.
 8         8.     I became involved in this case after lead counsel Mahoney Law Group
 9   approached me to join the team as a subject matter expert on so-called piracy trolling
10   claims based on the ABA Law Journal’s piece regarding piracy claims under the
11   Communications Act. Who's the pirate? Lawyers join forces to fight allegedly bogus
12   claims of pay-TV theft (abajournal.com)
13         9.     My role as co-counsel has focused largely on my subject matter
14   expertise involving trolling schemes and my extensive experience with the lawyers
15   that file these claims. In this case that expertise came from my significant experience
16   handling claims against Julie Lonstein and her law firm, the Lonstein Law Offices.
17         10.    I have been defending victims of trolling schemes since 2014. I estimate
18   that I have informally advised or formally represented several hundred defendants
19   in cases across the country. I am one of the few attorneys that will actively litigate
20   these matters instead of settling. To that end, I have taken three piracy claims to trial
21   and litigated at least 10 BitTorrent copyright trolling matters, including appeal to the
22   Ninth Circuit. Although there are many attorneys who market themselves as experts
23   in this area of law, I consider myself and the small team of attorneys with whom I
24   collaborate the only people providing actual defense of these matters. For a
25   representative sample of my work in this area, please review the dockets of cases
26   including, but not limited to, G&G Closed Circuit Events v. Jaime F. Castillo, et al.,
27   Case No. 14 cv 2073 (N.D. Ill.); Clear Skies Nevada v. Hancock, Case No. 15 cv
28   6708 (N.D Ill.); Criminal Productions, Inc. v Does 1-32, Case No. 2:17-cv-00550-
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                                DECLARATION OF LISA L. CLAY
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 1   DN (D. Utah); J&J Sports Productions Inc. v. Richard, Case No. 18 cv 3133 (N.D.
 2   Ill.); Malibu Media, LLC v. Mullins, 18 cv 6447 (N.D. Ill.).
 3         11.    7.     I am a member of the Northern District of Illinois Court’s trial
 4   bar and have presented cases before members of the Northern District bench four
 5   times, most recently in the case Jankowski v. Dean Foods, 16 cv 50103, which
 6   resulted in a $3.1 million jury verdict for my plaintiff/client.
 7         12.    Since mid-2019 when discovery began in this case, this case has
 8   represented a significant amount of my professional responsibilities, frequently
 9   accounting for 40 – 50 hours per week of my billable hours. I personally interviewed
10   and oversaw co-counsel staff that interviewed hundreds of business owners who
11   relayed eerily consistent stories to those of the Representative Plaintiffs. I have been
12   substantively involved in all aspects of this matter, including multiple amendments
13   to the initial pleadings, analysis and response to various motions to dismiss,
14   countless discovery disputes and the mediation process.
15         13.    Both lead counsel Katherine J. Odenbreit and I were stretched thin by
16   the rigors of this case. I am proud of the work that we did on behalf of this class and
17   the result that we obtained.
18         14.    I have never faced any disciplinary action or received any sanction for
19   misconduct or an ethical violation.
20         15.    I have no known conflicts of interest with the class. I do not represent
21   any class member in any manner outside this case. I do not have any financial or
22   other interest in any of the Defendants. I also have no financial interest in the Class
23   Administrator Simpluris.
24         16.    Negotiations of the settlement underlying this Motion are by far the
25   most complex I have experienced in my career. My co-counsel and DIRECTV’s
26   attorneys worked collaboratively with Judge Carl West (Ret.) for over a year to
27   complete a settlement.
28         17.    Both my co-counsel and DIRECTV’s counsel have worked
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                                DECLARATION OF LISA L. CLAY
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 1   collaboratively to address a number of unusually complex issues relating to the
 2   calculation of settlement payments, class notice and administration and settlement
 3   terms. These complexities arise because of the difficulties the parties had obtaining
 4   information about the class and the quality of the information that was eventually
 5   obtained.
 6         18.    It is my opinion, based on my substantial and significant experience
 7   litigating the claims giving rise to the RICO allegations in this matter, that the
 8   cumulative value of the settlement is an excellent result worthy of preliminary
 9   approval. This experience supports my opinion and that of my experienced co-/lead
10   counsel that this is a fair, reasonable and adequate settlement for this class. Attorney
11   Odenbreit and I both evaluated the strengths and weaknesses of the contested claims
12   against the time, expenses and resources continued litigation would require, and
13   collectively agreed that settlement was in the best interests of the class.
14         19.    Although Plaintiffs remain confident in the strength of the underlying
15   claims, the complexity, costs and litigation resources necessary to continue litigating
16   convinced co-counsel and I that settlement was a better outcome, particularly in light
17   of the anticipated 3 – 4 additional years of litigation the case would have required to
18   see through to trial.
19         20.    Since my appearance in this case I believe that I have adequately and
20   fairly represented the interests of the class and have aggressively prosecuted this
21   case to the best of my abilities, as the docket and results of my efforts and those of
22   my co-counsel in this case reflect.
23         21.    Between June of 2017 and December 31, 2020 I billed 1850.6 hours at
24   $650/hour and incurred $9044.94 in costs. In January of 2021 I changed billing
25   systems. Between January 1, 2021 to the date of this declaration I have billed over
26   320 hours at $650/hour and incurred $774.45 in costs. My total fees in this matter
27   now exceed $1,400,000.00 and will continue to accrue. My costs to date are
28   $9,819.39.
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                               DECLARATION OF LISA L. CLAY
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 1   I declare under penalty of perjury under the laws of the United States and the States
 2   of California and Illinois that the foregoing is true and correct.
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 4   Executed on this 20th day of March, 2022 at Wheaton, Illinois.
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                                             /s/ Lisa L. Clay
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                                DECLARATION OF LISA L. CLAY
